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                      EXHIBIT D
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                                  UNITED STATES DISTRICT COURT
1                                NORTHERN DISTRICT OF CALIFORNIA
2                                       SAN JOSE DIVISION

3     CHASOM BROWN, WILLIAM BYATT,
      JEREMY DAVIS, CHRISTOPHER                     Case No.: 5:20-cv-03664-LHK-SVK
4     CASTILLO, and MONIQUE TRUJILLO
      individually and on behalf of all other
5     similarly situated,
6
                   Plaintiffs,
7
      vs.
8
      GOOGLE LLC,
9

10                 Defendant.

11
      PATRICK CALHOUN, ELAINE CRESPO,
12    HADIYAH JACKSON and CLAUDIA                   Case No.: 5:20-cv-05146-LHK-SVK
      KINDLER, on behalf of themselves and all
13    others similarly situated,
14
                   Plaintiffs,
15
      vs.
16
      GOOGLE LLC,
17
                   Defendant.
18

19
      BENJAMIN HEWITT and KIMBERLEY
20    WOODRUFF, on behalf of themselves and         Case No.: 5:21-cv-02155-LHK-SVK
      all others similarly situated,
21
                   Plaintiffs,
22

23    vs.

24    GOOGLE LLC,

25                 Defendant.
26

27                                                                   CASE NO. 5:20-cv-03664-LHK-SVK
                                                                     CASE NO. 5:20-cv-05146-LHK-SVK
28                                                                   CASE NO. 5:21-cv-02155-LHK-SVK
                                         [PROPOSED] ORDER RE: COORDINATION OF WRITTEN DISCOVERY
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1                        [PROPOSED] DISCOVERY COORDINATION ORDER

2           Before the Court is a joint request by the plaintiffs in the Brown Case (5:20-cv-03664-

3    LHK-SVK); plaintiffs in the Calhoun Case (5:20-cv-05146-LHK-SVK); and plaintiffs in the

4    Hewitt Case (5:21-cv-02155-LHK-SVK) for an Order permitting coordination of written discovery

5    among the three cases (the “Request”), to minimize the burden and expense of duplicative

6    discovery and permit for effective coordination.

7           Having considered the Request, and good cause having been shown, the Court ORDERS

8    as follows:

9                  1. For the purpose of this Order:

10                        a. The “Brown Case” refers to Brown et al. v. Google, LLC (No. 5:20-cv-

11                            03664-LHK-SVK).

12                        b. The “Brown Case Protective Order” refers to the Stipulated Protective

13                            Order, as Modified by the Court, in the Brown Case (Dkt. 81).

14                        c. The “Calhoun Case” refers to Calhoun et al. v. Google, LLC (5:20-cv-

15                            05146-LHK-SVK).

16                        d. The “Calhoun Case Protective Order” refers to the First Modified Stipulated

17                            Protective Order Governing Exchange of Confidential Discovery as

18                            Modified by the Court, in the Calhoun Case (Dkt. 61).

19                        e. “Contact Attorneys” refers to counsel designated by each party and

20                            identified on Schedule A.

21                        f. “Google” refers to Google LLC, the defendant in each of the Pending Cases.

22                        g. The “Hewitt Case” refers to Hewitt et al. v. Google, LLC (5:21-cv-02155-

23                            LHK-SVK).

24                        h. “Parties” refers collectively to Plaintiffs and Google.

25                        i. “Pending Cases” refers collectively to the Brown Case, Calhoun Case, and

26                            Hewitt Case.

27                                                                        CASE NO. 5:20-cv-03664-LHK-SVK
                                                                          CASE NO. 5:20-cv-05146-LHK-SVK
28                                                                        CASE NO. 5:21-cv-02155-LHK-SVK
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1                    j.   “Protective Orders” refers collectively to the “Brown Case Protective

2                         Order” and the “Calhoun Case Protective Order,” as each may be

3                         supplemented and amended from time to time.

4             2. Counsel for the parties in each Pending Case shall be bound by this Order.

5                         COORDINATION OF WRITTEN DISCOVERY

6             3. Plaintiffs in any of the Pending Cases that serve or have served a written discovery

7                request propounded under Rules 31, 33, 34, or 36 on Google in any of the Pending

8                Cases shall provide a copy of the request to the Contact Attorneys in each Pending

9                Case.

10            4. Google shall serve any responses to written discovery requests propounded by the

11               plaintiffs in any of the Pending Cases, including responses previously served, to the

12               Contact Attorneys in each of the Pending Cases, except insofar as such responses

13               relate solely to one or two of the Pending Cases, in which case Google may redact

14               those portions from the version produced in the other Pending Case(s).

15            5. Google shall produce any documents responsive to a written discovery request

16               served by the plaintiffs in any of the Pending Cases, including documents already

17               produced, to the Contact Attorneys in each of the Pending Cases, except insofar as

18               such documents relate solely to one or two of the Pending Cases, in which case

19               Google may withhold those documents in the other Pending Case(s).

20            6. For ease of coordination, Google shall include a separate bates stamp on every

21               document for each Pending Case in which the document is being or has been

22               produced. This means that certain documents will be produced with multiple

23               bates stamps, one for each Pending Case in which it is being produced.

24            7. Whenever Google believes that material being produced in one Pending Case

25               relates solely to that Pending Case, or solely to two of the three Pending Cases,

26               Google shall notify the Contact Attorneys for the plaintiffs in all of the Pending

27                                                                   CASE NO. 5:20-cv-03664-LHK-SVK
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1                Cases, including by identifying the material by bates number. The Contact

2                Attorneys for the Parties shall meet and confer in good faith to discuss any

3                disputes about whether Google should be producing such material to the plaintiffs

4                in each of the Pending Cases and then if necessary present any disputes to the

5                Court.

6             8. Within 14 (fourteen) days of this Order, Google shall produce to the plaintiffs in

7                the Pending Cases all materials that Google has produced in the other Pending

8                Cases, subject to the exclusions discussed in paragraphs 4-5.

9                  DISCOVERY COORDINATION AMONG PLAINTIFFS’ COUNSEL

10            9. Counsel for the plaintiffs in the Pending Cases shall discuss discovery in the

11               Pending Cases to allow for more efficient and coordinated discovery, and the

12               Protective Orders are hereby modified to allow for those discussions.

13            10. The Protective Orders are hereby modified to permit the disclosure and

14               production of information designated by Google as Protected Material (as defined

15               therein) by the attorneys for the plaintiffs in any of the Pending Cases to the

16               attorneys for the plaintiffs in any other Pending Cases, with such information then

17               treated as Protected Material subject to the protective order in each such Pending

18               Case and to be used solely for purposes of prosecuting, defending, or attempting

19               to settle the Pending Case.

20            11. The Protective Orders are further modified to permit the attorneys for the

21               plaintiffs in each of the Pending Cases to discuss information designated by

22               Google as Protected Material (as defined therein) with the attorneys for the

23               plaintiffs in each of the Pending Cases, with such information then treated as

24               Protected Material subject to the protective order in each such Pending Case and

25               to be used solely for purposes of prosecuting, defending, or attempting to settle

26               the Pending Case.

27                                                                   CASE NO. 5:20-cv-03664-LHK-SVK
                                                                     CASE NO. 5:20-cv-05146-LHK-SVK
28                                                                   CASE NO. 5:21-cv-02155-LHK-SVK
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1             12. The parties in Hewitt are ordered to include within any protective order a

2                provision permitting the disclosure and production of information designated by

3                Google as protected material to the attorneys for the plaintiffs in each of the

4                Pending Cases, with such information then treated as Protected Material subject to

5                the protective order in each such Pending Case and to be used solely for purposes

6                of prosecuting, defending, or attempting to settle the Pending Case.

7             13. The parties in Hewitt are furthered ordered to include within any protective order

8                a provision permitting the attorneys for the plaintiffs to discuss information

9                designated by Google as protected material with the attorneys for the plaintiffs in

10               each of the Pending Cases, with such information then treated as Protected

11               Material subject to the protective order in each such Pending Case and to be used

12               solely for purposes of prosecuting, defending, or attempting to settle the Pending

13               Case.

14            14. The protective order in effect in each Pending Case shall govern the handling by

15               the parties to such Pending Case of Protected Material produced hereunder.

16               Unless modified by Google, confidentiality designations applied in one Pending

17               Case shall apply in all of the Pending Cases.

18

19         IT IS SO ORDERED.

20

21 DATED: ________________________             _____________________________________

22                                              Honorable Susan van Keulen
                                                United States Magistrate Judge
23

24

25

26

27                                                                   CASE NO. 5:20-cv-03664-LHK-SVK
                                                                     CASE NO. 5:20-cv-05146-LHK-SVK
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                                           SCHEDULE A
1

2    Brown v. Google

3    Plaintiffs

4    Mark C. Mao (CA Bar No. 236165)
     mmao@bsfllp.com
5    Beko Rebitz-Richardson (CA Bar No. 238027)
     brichardson@bsfllp.com
6    BOIES SCHILLER FLEXNER LLP
7    44 Montgomery Street, 41st Floor
     San Francisco, CA 94104
8    Telephone: (415) 293 6858
     Facsimile (415) 999 9695
9
     James W. Lee (pro hac vice)
10   jlee@bsfllp.com
     Rossana Baeza (pro hac vice)
11   rbaeza@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
12   100 SE 2nd Street, Suite 2800
     Miami, FL 33130
13   Telephone: (305) 539-8400
     Facsimile: (305) 539-1304
14
   William Christopher Carmody (pro hac vice)
15 bcarmody@susmangodfrey.com
   Shawn J. Rabin (pro hac vice)
16
   srabin@susmangodfrey.com
17 Steven Shepard (pro hac vice)
   sshepard@susmangodfrey.com
18 Alexander P. Frawley (pro hac vice)
   afrawley@susmangodfrey.com
19 SUSMAN GODFREY L.L.P.
   1301 Avenue of the Americas, 32nd Floor
20
   New York, NY 10019
21 Telephone: (212) 336-8330

22 Amanda Bonn (CA Bar No. 270891)
   abonn@susmangodfrey.com
23 SUSMAN GODFREY L.L.P.

24 1900 Avenue of the Stars, Suite 1400
   Los Angeles, CA 90067
25 Telephone: (310) 789-3100

26 John A. Yanchunis (pro hac vice)
   jyanchunis@forthepeople.com
27                                                                    CASE NO. 5:20-cv-03664-LHK-SVK
                                                                      CASE NO. 5:20-cv-05146-LHK-SVK
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     Ryan J. McGee (pro hac vice)
1    rmcgee@forthepeople.com
2    Michael F. Ram CA Bar No. 104805
     mram@forthepeople.com
3    MORGAN & MORGAN, P.A.
     201 N Franklin Street, 7th Floor
4    Tampa, FL 33602
     Telephone: (813) 223-5505
5    Facsimile: (813) 222-4736
6
     Google
7
     QUINN EMANUEL URQUHART & SULLIVAN, LLP
8
   Andrew H. Schapiro (admitted pro hac vice)
9  andrewschapiro@quinnemanuel.com
10 191 N. Wacker Drive, Suite 2700
   Chicago, IL 60606
11 Tel: (312) 705-7400
   Fax: (312) 705-7401
12
   Stephen A. Broome (CA Bar No. 314605)
13
   sb@quinnemanuel.com
14 Viola Trebicka (CA Bar No. 269526)
   violatrebicka@quinnemanuel.com
15 865 S. Figueroa Street, 10th Floor
   Los Angeles, CA 90017
16 Tel: (213) 443-3000
   Fax: (213) 443-3100
17

18 Diane M. Doolittle (CA Bar No. 142046)
   dianedoolittle@quinnemanuel.com
19 555 Twin Dolphin Drive, 5th Floor
   Redwood Shores, CA 94065
20 Telephone: (650) 801-5000
   Facsimile: (650) 801-5100
21

22 Jomaire A. Crawford (admitted pro hac vice)
   jomairecrawford@quinnemanuel.com
23 51 Madison Avenue, 22nd Floor
   New York, NY 10010
24 Telephone: (212) 849-7000
   Facsimile: (212) 849-7100
25
   Josef Ansorge (admitted pro hac vice)
26 josefansorge@quinnemanuel.com
   1300 I Street NW, Suite 900
27                                                                  CASE NO. 5:20-cv-03664-LHK-SVK
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     Washington D.C., 20005
1    Tel: (202) 538-8000
2    Fax: (202) 538-8100

3    Jonathan Tse (CA Bar No. 305468)
     jonathantse@quinnemanuel.com
4    50 California Street, 22nd Floor
     San Francisco, CA 94111
5    Tel: (415) 875-6600
6    Fax: (415) 875-6700

7
     Calhoun v. Google
8
     Plaintiffs
9

10 Lesley E. Weaver (Cal. Bar No. 191305)
   Angelica M. Ornelas (Cal. Bar No. 285929)
11 Joshua D. Samra (Cal. Bar No. 313050)
   BLEICHMAR FONTO & AULD LLP
12 555 12th Street, Suite 1600
   Oakland, CA 94607
13
   Tel.: (415) 445-4003
14 Fax: (415) 445-4020
   lweaver@bfalaw.com
15 aornelas@bfalaw.com
   jsamra@bfalaw.com
16
   David A. Straite (admitted pro hac vice)
17
   DICELLO LEVITT GUTZLER LLC
18 One Grand Central Place
   60 East 42nd Street, Suite 2400
19 New York, New York 10165
   Tel.: (646) 933-1000
20 dstraite@dicellolevitt.com

21
     Amy E. Keller (admitted pro hac vice)
22   Adam Levitt (admitted pro hac vice)
     Adam Prom (pro hac vice pending)
23   Ten North Dearborn Street
     Sixth Floor
24   Chicago, IL 60602
     Tel.: (312) 214-7900
25   akeller@dicellolevitt.com
     alevitt@dicellolevitt.com
26   aprom@dicellolevitt.com

27                                                                       CASE NO. 5:20-cv-03664-LHK-SVK
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1     Jay Barnes
2     Mitchell M. Breit (admitted pro hac vice)
      Jason ‘Jay’ Barnes (admitted pro hac vice)
3     An Truong (admitted pro hac vice)
      Eric Johnson (admitted pro hac vice)
4     SIMMONS HANLY CONROY LLC
      112 Madison Avenue, 7th Floor
5     New York, NY 10016
6     Tel.: (212) 784-6400
      Fax: (212) 213-5949
7     mbreit@simmonsfirm.com
      jaybarnes@simmonsfirm.com
8     atruong@simmonsfirm.com
      ejohnson@simmonsfirm.com
9

10 Google

11 QUINN EMANUEL URQUHART & SULLIVAN, LLP

12 Andrew H. Schapiro (admitted pro hac vice)
   andrewschapiro@quinnemanuel.com
13
   191 N. Wacker Drive, Suite 2700
14 Chicago, IL 60606
   Tel: (312) 705-7400
15 Fax: (312) 705-7401

16 Stephen A. Broome (CA Bar No. 314605)
   sb@quinnemanuel.com
17
   Viola Trebicka (CA Bar No. 269526)
18 violatrebicka@quinnemanuel.com
   865 S. Figueroa Street, 10th Floor
19 Los Angeles, CA 90017
   Tel: (213) 443-3000
20 Fax: (213) 443-3100

21
   Diane M. Doolittle (CA Bar No. 142046)
22 dianedoolittle@quinnemanuel.com
   555 Twin Dolphin Drive, 5th Floor
23 Redwood Shores, CA 94065
   Telephone: (650) 801-5000
24 Facsimile: (650) 801-5100

25
   Jomaire A. Crawford (admitted pro hac vice)
26 jomairecrawford@quinnemanuel.com
   51 Madison Avenue, 22nd Floor
27                                                                     CASE NO. 5:20-cv-03664-LHK-SVK
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      New York, NY 10010
1     Telephone: (212) 849-7000
      Facsimile: (212) 849-7100
2

3     Josef Ansorge (admitted pro hac vice)
      josefansorge@quinnemanuel.com
4     1300 I Street NW, Suite 900
      Washington D.C., 20005
5     Tel: (202) 538-8000
      Fax: (202) 538-8100
6

7     Jonathan Tse (CA Bar No. 305468)
      jonathantse@quinnemanuel.com
8     50 California Street, 22nd Floor
      San Francisco, CA 94111
9     Tel: (415) 875-6600
      Fax: (415) 875-6700
10

11
      Hewitt v. Google
12
      Plaintiffs
13
      Lesley Weaver (Cal. Bar No. 191305)
14
      Matthew S. Melamed (Cal. Bar No. 260272)
15    Anne K. Davis (Cal. Bar No. 267909)
      Angelica M. Ornelas (Cal. Bar No. 285929)
16    Joshua D. Samra (Cal. Bar No. 313050)
      BLEICHMAR FONTI & AULD LLP
17    555 12th Street, Suite 1600
      Oakland, CA 94607
18
      Tel.: (415) 445-4003
19    Fax: (415) 445-4020
      lweaver@bfalaw.com
20    mmelamed@bfalaw.com
      adavis@bfalaw.com
21    aornelas@bfalaw.com
      jsamra@bfalaw.com
22

23 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal. Bar No. 220289)
24 Caroline C. Corbitt (Cal. Bar No. 305492)
   PRITZKER LEVINE LLP
25 1900 Powell Street, Suite 450

26 Emeryville, CA 94608
   Tel.: (415) 692-0772
27                                                                        CASE NO. 5:20-cv-03664-LHK-SVK
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      Fax: (415) 366-6110
1     ecp@pritzkerlevine.com
2     jkl@pritzkerlevine.com
      ccc@pritzkerlevine.com
3
   Mitchell M. Breit (pro hac vice to be sought)
4 Jason ‘Jay’ Barnes (pro hac vice)
   An Truong (pro hac vice)
5 Eric Johnson (pro hac vice to be sought)

6 SIMMONS HANLY CONROY LLC
   112 Madison Avenue, 7th Floor
7 New York, NY 10016
   Tel.: (212) 784-6400
8 Fax: (212) 213-5949
   mbreit@simmonsfirm.com
9 jaybarnes@simmonsfirm.com

10 atruong@simmonsfirm.com
   ejohnson@simmonsfirm.com
11
   David A. Straite (admitted pro hac vice)
12 DICELLO LEVITT GUTZLER LLC
   One Grand Central Place
13
   60 East 42nd Street, Suite 2400
14 New York, New York 10165
   Tel.: (646) 933-1000
15 dstraite@dicellolevitt.com

16 Amy E. Keller (admitted pro hac vice)
   Adam Levitt (admitted pro hac vice)
17
   Adam Prom (pro hac vice pending)
18 Ten North Dearborn Street
   Sixth Floor
19 Chicago, IL 60602
   Tel.: (312) 214-7900
20 akeller@dicellolevitt.com
   alevitt@dicellolevitt.com
21
   aprom@dicellolevitt.com
22

23 Google

24 COOLEY LLP

25 MICHAEL G. RHODES (SBN 116127)
   (rhodesmg@cooley.com)
26 JEFFREY M. GUTKIN (SBN 216083)
   (jgutkin@cooley.com)
27                                                                     CASE NO. 5:20-cv-03664-LHK-SVK
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      DANIELLE C. PIERRE (SBN 300567)
1     (dpierre@cooley.com)
2     KELSEY R. SPECTOR (SBN 321488)
      (kspector@cooley.com)
3     COLIN S. SCOTT (SBN 318555)
      (cscott@cooley.com)
4     101 California Street, 5th Floor
      San Francisco, California 94111-5800
5     Telephone: (415) 693 2000
6     Facsimile: (415) 693 2222

7

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